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                    UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER,               )
     et al.,                             )
                                         )
      Plaintiffs,                        )
                                         )
&                                        )
                                         )
UNITED STATES OF AMERICA,                )
                                         )
      Plaintiff-Intervenor,              )
                                         )
v.                                       ) No. 2:22-cv-00184-LCB
                                         )
STEVE MARSHALL, in his official          )
capacity as Attorney General of the      )
State of Alabama,                        )
      et al.,                            )
                                         )
      Defendants.                        )

      DEFENDANTS’ NOTICE OF APPEAL OF ORDER GRANTING
             PRELIMINARY INJUNCTION (DOC. 107)

      Notice is hereby given that all Defendants in the above-captioned case appeal

to the United States Court of Appeals for the Eleventh Circuit from this Court’s May

13, 2022 Preliminary Injunction Opinion and Order (Doc. 107).

                                 Respectfully submitted,
                                 Steve Marshall
                                  Attorney General
                                 s/ Edmund G. LaCour Jr.
                                 Edmund G. LaCour Jr. (ASB-9182-U81L)
                                  Solicitor General
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MAY 16, 2022




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                        CERTIFICATE OF SERVICE

      I certify that I electronically filed this document using the Court’s CM/ECF

system on May 16, 2022, which will serve all counsel of record.

                                     s/ Edmund G. LaCour Jr.
                                     Counsel for Defendants




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